Case 3:17-cv-00072-NKM-JCH Document 457-11 Filed 04/03/19 Page 1 of 2 Pageid#:
                                   4306




        EXHIBIT 11
Case 3:17-cv-00072-NKM-JCH Document 457-11 Filed 04/03/19 Page 2 of 2 Pageid#:
                                   4307



    From:            Christopher Greene
    To:              e!i.f.mosley@gmail.com
    Cc:              Roberta Kaplan: l.UJ.i.e...Ei.o; Gabrielle E. Tenzer: Karen Dunn: Jessica Phillips; Levine. Alan; Mills. David; fulwma.n.
                     .ehiliD.11.
    Subject:         Sines v. Kessler
    Date:            Friday, November 16, 2018 7: 10:59 PM
    Attachments:     Modified Proposed Imaging Stipulation Order - AS FILED.pdf
                     2018.11.16 Notjce of Fi!jng - AS FILED.pdf

    Mr. Kline,


    Please see the attached Notice and Modified Proposed Imaging Stipulation and Order, which were
   filed with the Court this evening.


   Regards,

   Christopher B. Greene I Kaplan Hecker & Fink LLP
   350 Fifth Avenue I Suite 7110
   New York, New York 10118
   (W) 929.294.2528 I (M) 646.856.6861
   cgreene@kaplanhecker com
